     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                                 District of New Mexico
                                               __________________________________
     In re   Michelle Lisa Medved & Scott Jason Medved

                                                                                                             Case No. _______________

    Debtor                                                                                                            13
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         600.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         175.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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       d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
None




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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       05/19/2020                       /s/ Joel Gaffney, 148966
     _____________________             _________________________________________
     Date                                     Signature of Attorney
                                        Gaffney Law, PC
                                       _________________________________________
                                            ​Name of law firm
                                        6565 America's Parkway
                                        200
                                        Albuquerque, NM 87110
                                        5055635508
                                        joel@gaffneylaw.com




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